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   8                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   9                             EASTERN DIVISION
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  11   SALVADOR CANAVA, individually               Case No. 5:19-cv-00401-JGB (KKx)
  12   And on behalf of others similarly           Honorable Jesus G. Bernal
       situated,                                   Courtroom 1
  13
  14                                               ORDER RE CONTINUING
                    Plaintiffs,                    HEARING DATE
  15
  16         v.                                    Hearing Date: December 2, 2019
                                                   Time:         9:00 a.m.
  17                                               Location:     U.S. Courthouse
  18   RAIL DELIVERY SERVICES,                                  3470 Twelfth Street
       INCORPORATED AND GREG P.                                 Riverside, CA 92501
  19   STEFFLRE, JUDI GIRARD                       Courtroom: 1
  20   STEFFLRE,
                                                   Complaint filed: March 4, 2019
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  22               Defendants.

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  26         Based on the Joint Stipulation of the parties, and good cause appearing
  27
       therefor, IT IS HEREBY ORDERED that the hearing date shall be continued from
  28
       December 2, 2019 to January 27, 2020 at 9:00 a.m., on:
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   1         1. Defendants’ Motion to Dismiss the Fourth and Fifth Causes of Action of
   2            First Amended Complaint as Preempted by Federal Authority (FRCP
   3            12(b)(6))(Doc. 40);
   4         2. Defendants’ Motion to Strike Plaintiff’s Class Allegations (Fed. R. Civ. P.
   5            12(F), 23(d)(1)(D)), and to Compel Arbitration of Plaintiff’s Second,
   6            Sixth, Seventh and Eighth Causes of Action; Memorandum of Points and
   7            Authorities in Support Thereof (Doc. 41);
   8         3. Plaintiff’s Motion to Conditionally Certify Count 1 as a Collective Action
   9            Pursuant to 29 U.S.C. § 216(B) and to Certify Counts 2,3,6,7,8,9, and 10
  10            as Rule 23 (B)(3) Class Action (Doc. 71); and
  11         4. Plaintiff’s Motion to Approve Notice to the Class and Collective Action
  12            Members; to Approve Method of Distribution of Notice; and to Toll FLSA
  13            Statute of Limitations (Doc. 79).
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  15         IT IS SO ORDERED.
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       Dated: November 25, 2019              _______________________________
  18                                         Honorable Jesus G. Bernal
                                             United States District Court
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                                             Central District of California
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